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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


DANIEL YANNES, Individually and On         Case No.
Behalf of All Others Similarly Situated,

                            Plaintiff,     CLASS ACTION COMPLAINT FOR
                                           VIOLATIONS OF THE FEDERAL
              v.                           SECURITIES LAWS

SCWORX CORP., and MARC S.
SCHESSEL,                                  JURY TRIAL DEMANDED

                            Defendants.
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         Plaintiff Daniel Yannes (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, his counsel’s investigation,

which includes without limitation: (a) review and analysis of regulatory filings made by SCWorx

Corp. (“SCWorx” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by SCWorx; and (c) review of other publicly available information concerning

SCWorx.

                         NATURE OF THE ACTION AND OVERVIEW

         1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired SCWorx securities between April 13, 2020 and April 17, 2020, inclusive (the “Class

Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of

1934 (the “Exchange Act”).

         2.       SCWorx provides data content and services related to the repair, normalization

and interoperability of information for healthcare providers.

         3.       On April 13, 2020, before the market opened, SCWorx announced that it had

received a committed purchase order of two million COVID-19 rapid testing kits, “with

provision for additional weekly orders of 2 million units for 23 weeks, valued at $35M per

week.”

         4.       On this news, the Company’s share price increased by $9.77, to close at $12.02

per share on April 13, 2020.

         5.       On April 17, 2020, Hindenburg Research issued a report doubting the validity of

the deal, calling it “completely bogus.” According to Hindenburg Research, the Covid-19 test

supplier that SCWorx is buying from, Promedical, has a Chief Executive Officer “who formerly

ran another business accused of defrauding its investors and customers” and “was also alleged to

have falsified his medical credentials,” Promedical claimed to the FDA and regulators in

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Australia to be offering COVID-19 test kits manufactured by Wondfo, but “Wondfo put out a

press release days ago stating that Promedical ‘fraudulently mispresented themselves’ as sellers

of its Covid-19 tests and disavowed any relationship,” and the buyer that SCWorx claimed to

have lined up does not appear to be “capable of handling hundreds of millions of dollars in

orders.”

       6.       On this news, the Company’s share price fell $1.19, or more than 17%, over three

consecutive trading sessions to close at $5.76 per share on April 21, 2020, on unusually heavy

trading volume.

       7.       On April 22, 2020, the SEC halted trading of the Company’s stock. As of the

filing of this complaint, trading remains halted.

       8.       Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that

SCWorx’s supplier for COVID-19 tests had previously misrepresented its operations; (2) that

SCWorx’s buyer was a small company that was unlikely to adequately support the purported

volume of orders for COVID-19 tests; (3) that, as a result, the Company’s purchase order for

COVID-19 tests had been overstated or entirely fabricated; and (4) that, as a result of the

foregoing, Defendants’ positive statements about the Company’s business, operations, and

prospects, were materially misleading and/or lacked a reasonable basis.

       9.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                 JURISDICTION AND VENUE

       10.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       11.      This Court has jurisdiction over the subject matter of this action pursuant to 28

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U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       12.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the dissemination of materially false and/or misleading information,

occurred in substantial part in this Judicial District. In addition, the Company’s principal

executive offices are located in this District.

       13.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

       14.     Plaintiff Daniel Yannes, as set forth in the accompanying certification,

incorporated by reference herein, purchased SCWorx securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

       15.     Defendant SCWorx is incorporated under the laws of Delaware with its principal

executive offices located in New York, New York. SCWorx’s common stock trades on the

NASDAQ exchange under the symbol “WORX.”

       16.     Defendant Marc S. Schessel (“Schessel”) was the Company’s Chief Executive

Officer (“CEO”) and interim Chief Financial Officer (“CFO”) at all relevant times. Defendant

Schessel, also referred to as the “Individual Defendant”, because of his positions with the

Company, possessed the power and authority to control the contents of the Company’s reports to

the SEC, press releases and presentations to securities analysts, money and portfolio managers

and institutional investors, i.e., the market. The Individual Defendant was provided with copies

of the Company’s reports and press releases alleged herein to be misleading prior to, or shortly

after, their issuance and had the ability and opportunity to prevent their issuance or cause them to

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be corrected. Because of his positions and access to material non-public information available to

them, the Individual Defendant knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading. The Individual Defendant

is liable for the false statements pleaded herein.

                                SUBSTANTIVE ALLEGATIONS

                                            Background

       17.     SCWorx provides data content and services related to the repair, normalization

and interoperability of information for healthcare providers.

                                Materially False and Misleading
                           Statements Issued During the Class Period

       18.     The Class Period begins on April 13, 2020. On that day, before the market

opened, SCWorx announced that it had received a committed purchase order of two million

COVID-19 rapid testing kits, “with provision for additional weekly orders of 2 million units for

23 weeks, valued at $35M per week.” In a press release, the Company stated:

       SCWorx Corp. (Nasdaq: WORX) announced today that it has received a
       committed purchase order from Rethink My Healthcare, a U.S.-based virtual
       healthcare network, for two million COVID-19 Rapid Testing Units, with
       provision for additional weekly orders of 2 million units for 23 weeks, valued at
       $35M per week.

       Under the Order, SCWorx will supply Rethink My Healthcare with IgM/IgG
       Rapid Detection Kits. SCWorx anticipates receiving the first 2 million rapid
       detection kits within approximately two weeks.

       “Widespread testing for COVID-19 disease in the United States is absolutely
       critical for saving lives and reopening our economy,” said Marc Schessel, CEO of
       SCWorx. “Our substantial purchase order from Rethink My Healthcare will
       significantly increase the availability of rapid-test kits in the United States.
       Additional purchase orders currently under negotiation with certain other parties
       could further increase the U.S. supply of these important tests in the near term.”

       19.     On this news, the Company’s share price increased by $9.77, to close at $12.02

per share on April 13, 2020.


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       20.       The above statements identified in ¶ 18 were materially false and/or misleading,

and failed to disclose material adverse facts about the Company’s business, operations, and

prospects. Specifically, Defendants failed to disclose to investors: (1) that SCWorx’s supplier

for COVID-19 tests had previously misrepresented its operations; (2) that SCWorx’s buyer was a

small company that was unlikely to adequately support the purported volume of orders for

COVID-19 tests; (3) that, as a result, the Company’s purchase order for COVID-19 tests had

been overstated or entirely fabricated; and (4) that, as a result of the foregoing, Defendants’

positive statements about the Company’s business, operations, and prospects, were materially

misleading and/or lacked a reasonable basis.

                            Disclosures at the End of the Class Period

       21.       On April 17, 2020, Hindenburg Research issued a report doubting the validity of

the deal, calling it "completely bogus," considering Chief Executive Officer Marc Schessel's

checkered past, questionable credibility of supplier Promedical, and the relatively small size of

its client Rethink My Healthcare. In a report entitled “SCWorx: Evidence Points to its Massive

COVID-19 Test Deal Being Completely Bogus, Price Target Back to $2.25 Or Lower,”

Hindenburg Research stated, in relevant part:

                SCWorx, a nanocap company headquartered in a Regus rental office in
                 New York City, recently announced it had entered into massive $35
                 million per week deal to buy and re-sell Covid-19 tests, causing its stock
                 to surge 434%.
                SCWorx’s CEO has a checkered past, including pleading guilty to felony
                 tax evasion charges and paying a judgement in a lawsuit alleging he
                 submitted fraudulent expense reports.
                The Covid-19 test supplier that SCWorx is buying from, Promedical,
                 also is laden with red flags. Its CEO is a convicted rapist and formerly ran
                 another business accused of defrauding its investors and customers. The
                 CEO was also alleged to have falsified his medical credentials.
                Promedical claimed to the FDA and regulators in Australia to be
                 offering COVID-19 test kits manufactured by large, well-respected
                 Chinese firm Wondfo.
                Wondfo put out a press release days ago stating that Promedical
                 “fraudulently mispresented themselves” as sellers of its Covid-19 tests
                 and disavowed any relationship. We spoke with Wondfo and confirmed
                 there was never any relationship.


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                Meanwhile, the buyer that SCWorx has lined up for up to $840 million
                 dollars in tests is a virtual healthcare company started by a 25-year-old in
                 August 2018 that looks modestly sized, with only 3 employees and 3
                 consultants/advisors listed on its team page– hardly the major partner that
                 we believe would be capable of handling hundreds of millions of dollars in
                 orders.
                Obviously, we believe the Covid-19 hype surrounding SCWorx is
                 completely bogus and we predict shares will soon return to the $2.25 price
                 level they were at prior to the hype.
                We also think shares risk being halted and ultimately could move far
                 lower than $2.25 if/when regulators investigate the company’s potentially
                 nefarious business practices at a time when our country and its citizens are
                 arguably at their most vulnerable. We’re offended by how egregious this
                 appears, not only as investors, but as Americans.

(Emphasis added.)

       22.       On this news, the Company’s share price fell $1.19, or more than 17%, over three

consecutive trading sessions to close at $5.76 per share on April 21, 2020, on unusually heavy

trading volume.

       23.       On April 22, 2020, the SEC halted trading of the Company’s stock. As of the

filing of this complaint, trading remains halted.

                                CLASS ACTION ALLEGATIONS
       24.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that

purchased or otherwise acquired SCWorx securities between April 13, 2020 and April 17, 2020,

inclusive, and who were damaged thereby (the “Class”).              Excluded from the Class are

Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Defendants have or had a controlling interest.

       25.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, SCWorx’s common shares actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can only be ascertained through appropriate discovery, Plaintiff believes that there are at least


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hundreds or thousands of members in the proposed Class. Millions of SCWorx common stock

were traded publicly during the Class Period on the NASDAQ. Record owners and other

members of the Class may be identified from records maintained by SCWorx or its transfer agent

and may be notified of the pendency of this action by mail, using the form of notice similar to

that customarily used in securities class actions.

        26.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        27.       Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

        28.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of SCWorx; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        29.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

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                              UNDISCLOSED ADVERSE FACTS

         30.    The market for SCWorx’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, SCWorx’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired SCWorx’s securities

relying upon the integrity of the market price of the Company’s securities and market

information relating to SCWorx, and have been damaged thereby.

         31.    During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of SCWorx’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,

as set forth herein, not false and/or misleading. The statements and omissions were materially

false and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about SCWorx’s business, operations, and prospects as alleged herein.

         32.    At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about SCWorx’s financial well-being and prospects.           These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.    Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein when the truth was

revealed.




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                                      LOSS CAUSATION

       33.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       34.     During the Class Period, Plaintiff and the Class purchased SCWorx’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                 SCIENTER ALLEGATIONS

       35.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendant, by

virtue of his receipt of information reflecting the true facts regarding SCWorx, his control over,

and/or receipt and/or modification of SCWorx’s allegedly materially misleading misstatements

and/or his associations with the Company which made him privy to confidential proprietary

information concerning SCWorx, participated in the fraudulent scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE
                      (FRAUD-ON-THE-MARKET DOCTRINE)

       36.     The market for SCWorx’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, SCWorx’s securities traded at artificially inflated prices during the Class Period. On

April 13, 2020, the Company’s share price closed at a Class Period high of $12.02 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of SCWorx’s securities and market


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information relating to SCWorx, and have been damaged thereby.

         37.   During the Class Period, the artificial inflation of SCWorx’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about SCWorx’s business, prospects, and operations. These material

misstatements and/or omissions created an unrealistically positive assessment of SCWorx and its

business, operations, and prospects, thus causing the price of the Company’s securities to be

artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company shares. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

         38.   At all relevant times, the market for SCWorx’s securities was an efficient market

for the following reasons, among others:

               (a)     SCWorx shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, SCWorx filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     SCWorx regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

               (d)     SCWorx was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and


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certain customers of their respective brokerage firms.        Each of these reports was publicly

available and entered the public marketplace.

       39.     As a result of the foregoing, the market for SCWorx’s securities promptly
digested current information regarding SCWorx from all publicly available sources and reflected

such information in SCWorx’s share price. Under these circumstances, all purchasers of

SCWorx’s securities during the Class Period suffered similar injury through their purchase of

SCWorx’s securities at artificially inflated prices and a presumption of reliance applies.

       40.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because the Class’s claims are, in large part, grounded on Defendants’ material

misstatements and/or omissions. Because this action involves Defendants’ failure to disclose

material adverse information regarding the Company’s business operations and financial

prospects—information that Defendants were obligated to disclose—positive proof of reliance is

not a prerequisite to recovery. All that is necessary is that the facts withheld be material in the

sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set

forth above, that requirement is satisfied here.

                                       NO SAFE HARBOR

       41.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

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looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of SCWorx who knew that the statement was false when made.

                                             FIRST CLAIM
                          Violation of Section 10(b) of The Exchange Act and
                                 Rule 10b-5 Promulgated Thereunder
                                        Against All Defendants

        42.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        43.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase SCWorx’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

defendant, took the actions set forth herein.
        44.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for SCWorx’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        45.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about SCWorx’s financial

well-being and prospects, as specified herein.

        46.     Defendants employed devices, schemes and artifices to defraud, while in


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possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of SCWorx’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about SCWorx and its business

operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       47.     The Individual Defendant’s primary liability and controlling person liability arises

from the following facts: (i) the Individual Defendant was a high-level executive and/or director

at the Company during the Class Period and member of the Company’s management team or had

control thereof; (ii) each of these defendants, by virtue of their responsibilities and activities as a

senior officer and/or director of the Company, was privy to and participated in the creation,

development and reporting of the Company’s internal budgets, plans, projections and/or reports;

(iii) each of these defendants enjoyed significant personal contact and familiarity with the other

defendants and was advised of, and had access to, other members of the Company’s management

team, internal reports and other data and information about the Company’s finances, operations,

and sales at all relevant times; and (iv) each of these defendants was aware of the Company’s

dissemination of information to the investing public which they knew and/or recklessly

disregarded was materially false and misleading.

       48.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing SCWorx’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

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Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       49.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

SCWorx’s securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired SCWorx’s securities during the Class Period at artificially high prices and were

damaged thereby.

       50.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that SCWorx was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their SCWorx securities,

or, if they had acquired such securities during the Class Period, they would not have done so at

the artificially inflated prices which they paid.

       51.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.

       52.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

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                                         SECOND CLAIM
                          Violation of Section 20(a) of The Exchange Act
                                 Against the Individual Defendant

        53.     Plaintiff repeats and re-alleges each and every allegation contained above as if

fully set forth herein.

        54.     Individual Defendant acted as a controlling person of SCWorx within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of his high-level

position and his ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the
Company with the SEC and disseminated to the investing public, Individual Defendant had the

power to influence and control and did influence and control, directly or indirectly, the decision-
making of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading. Individual Defendant was provided with or

had unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements

were issued and had the ability to prevent the issuance of the statements or cause the statements

to be corrected.

        55.     In particular, Individual Defendant had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        56.     As set forth above, SCWorx and Individual Defendant each violated Section 10(b)

and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of his position

a as controlling person, Individual Defendant is liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.



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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

       (b)     Awarding compensatory damages in favor of Plaintiff and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: April 29, 2020                         GLANCY PRONGAY & MURRAY LLP

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                   SWORN CERTIFICATION OF PLAINTIFF


                  SCWORX CORP. SECURITIES LITIGATION


  I, Dan Yannes, certify that:

  1.     I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
         Plaintiff motion on my behalf.

  2.     I am duly authorized to institute legal action against SCWorx Corp. and other
         defendants.

  3.     I did not purchase the SCWorx Corp. securities that are the subject of this action
                                   s counsel or in order to participate in any private action
         arising under this title.

  4.     I am willing to serve as a representative party on behalf of a class and will testify
         at deposition and trial, if necessary.

  5.     My transactions in SCWorx Corp. securities during the Class Period set forth in
         the Complaint are as follows:

         (See attached transactions)

  6.     I have not sought to serve, nor served, as a representative party on behalf of a
         class under this title during the last three years, except for the following:


  7.     I will not accept any payment for serving as a representative party, except to
         receive my pro rata share of any recovery or as ordered or approved by the court,
         including the award to a representative plaintiff of reasonable costs and expenses
         (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.




________________                        _________________________________________
      Date                                           Dan Yannes
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         Dan Yannes's Transactions in SCWorx Corp. (WORX)

                                Account 1
         Date       Transaction Type     Quantity      Unit Price
        4/13/2020       Bought                 2,000      $12.0000
        4/13/2020       Bought                 2,000      $13.7500
        4/13/2020         Sold               -2,000       $13.5000
        4/14/2020       Bought                   500      $10.9000
        4/14/2020       Bought                   500       $9.9900
        4/14/2020       Bought                   100       $9.3800
        4/14/2020       Bought                   200       $9.3900
        4/14/2020       Bought                   200       $9.4193
        4/14/2020       Bought                   500       $9.0000
        4/14/2020       Bought                   500       $8.5000
